Case 15-11880-BLS   Doc 804-2   Filed 02/17/16   Page 1 of 7




                EXHIBIT A
       DETAILED STATEMENT OF FEES
     OCTOBER 1, 2015 TO OCTOBER 31, 2015
                         Case 15-11880-BLS           Doc 804-2          Filed 02/17/16   Page 2 of 7


                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
                            Fees Sorted by Category for the Fee Period
                                October 01, 2015 - October 31, 2015

Date                            Description                                           Rate     Hours       Fees

Bankruptcy Tax Consulting
10/01/2015
   Bridenstine, Travis          Prepare bankruptcy tax information request for       $705.00      1.0    $705.00
                                modeling tax bankruptcy ramifications for J.
                                Novarro, Quiksilver.
   Gerstel, Ken                 Prepare bankruptcy tax information request for       $795.00      1.9   $1,510.50
                                modeling tax bankruptcy ramifications for J.
                                Novarro, Quiksilver.

10/02/2015
   Bridenstine, Travis          Consultation with J. Novarro, Quiksilver,            $705.00      0.5    $352.50
                                regarding initial document request for the
                                bankruptcy model project to model out tax
                                ramifications of the bankruptcy.
10/09/2015
   Bridenstine, Travis          Meet with L. Crane, Deloitte, to review              $705.00      2.0   $1,410.00
                                bankruptcy information document request,
                                information provided by J. Novarro, Quiksilver,
                                and to discuss modeling.
   Crane, Leah                  Meet with T. Bridenstine, Deloitte, to review        $398.00      2.0    $796.00
                                bankruptcy information document request,
                                information provided by J. Novarro, Quiksilver,
                                and to discuss modeling.
   Crane, Leah                  Review bankruptcy information document request       $398.00      1.2    $477.60
                                information provided by J. Novarro, Quiksilver
                                and pull together tax organization structure.
   Crane, Leah                  Pull together tax organization structure to use in   $398.00      0.8    $318.40
                                determining impact on tax bankruptcy modeling.
   Gerstel, Ken                 Read through bankruptcy information document         $795.00      1.1    $874.50
                                request information provided by J. Novarro,
                                Quiksilver.

10/12/2015
   Gerstel, Ken                 Review factual information provided to date.         $795.00      1.3   $1,033.50

10/13/2015
   Bridenstine, Travis          Modify organization chart presentation including     $705.00      2.0   $1,410.00
                                updating list of outstanding information.
   Crane, Leah                  Organize tax structure into organizational chart     $398.00      1.5    $597.00
                                including Net Operating Loss (NOL) evaluation.

10/14/2015
   Bridenstine, Travis          Attend initial scoping call with J. Novarro,         $705.00      1.0    $705.00
                                Quiksilver, regarding tax modeling the bankruptcy
                                ramifications for the Company.
   Crane, Leah                  Update organization chart with Net Operation         $398.00      0.3    $119.40
                                Losses ( NOLs).
   Ecker, Scott                 Call to kick off bankruptcy modeling with J.         $795.00      0.5    $397.50
                                Novarro, Quiksilver, and K. Gerstel, Deloitte.


                                                                  2
                         Case 15-11880-BLS           Doc 804-2           Filed 02/17/16    Page 3 of 7


                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
                            Fees Sorted by Category for the Fee Period
                                October 01, 2015 - October 31, 2015

Date                            Description                                             Rate     Hours       Fees

Bankruptcy Tax Consulting
10/14/2015
   Gerstel, Ken                 Perform pre call review of information needed          $795.00      1.3   $1,033.50
                                from client relating to bankruptcy modeling.
   Gerstel, Ken                 Call to kick off bankruptcy modeling with J.           $795.00      0.5    $397.50
                                Novarro, Quiksilver, and S. Ecker, Deloitte.

10/15/2015
   Bridenstine, Travis          Read through information provided by Quiksilver        $705.00      1.0    $705.00
                                while preparing a list of remaining outstanding
                                information relating to preparing the tax modeling
                                for the ramifications of the bankruptcy.
   Crane, Leah                  Update organization chart for information              $398.00      0.4    $159.20
                                received by J. Novarro, Quiksilver, for purposes
                                of modeling the tax ramifications of the
                                bankruptcy
   Gerstel, Ken                 Perform Plan of Reorganization (POR) review.           $795.00      0.9    $715.50

   Gerstel, Ken                 Review bankruptcy model information request for        $795.00      1.0    $795.00
                                information received to date to determine what
                                information remains outstanding to prepare tax
                                bankruptcy ramification modeling.
10/16/2015
   Bridenstine, Travis          Prepare sample Net Operating Loss (NOL)                $705.00      2.5   $1,762.50
                                allocation including stock basis hypothesis.

10/19/2015
   Bridenstine, Travis          Meet with L. Crane to update organization chart        $705.00      2.3   $1,621.50
                                and create tax basis in stock schedule.
   Bridenstine, Travis          Revise organization chart including preparation of     $705.00      0.7    $493.50
                                hypothesis of NOL allocation, stock basis, and
                                information request follow-up.
   Crane, Leah                  Meet with T. Bridenstine to update organization        $398.00      2.3    $915.40
                                chart and create tax basis in stock schedule.
   Gerstel, Ken                 Review bankruptcy model information request for        $795.00      1.3   $1,033.50
                                information received to date to determine what
                                information remains outstanding to prepare tax
                                bankruptcy ramification modeling.

10/20/2015
   Bridenstine, Travis          Modify presentation of company organizational          $705.00      3.0   $2,115.00
                                structure including tax attributes, stock basis, and
                                intercompany accounts.
   Crane, Leah                  Update organization chart including tax basis          $398.00      1.8    $716.40
                                summary.
   Gerstel, Ken                 Review existing Plan of Reorganization (POR            $795.00      0.8    $636.00
                                data).




                                                                   3
                         Case 15-11880-BLS           Doc 804-2          Filed 02/17/16     Page 4 of 7


                                         Quiksilver, Inc.
                                         Deloitte Tax LLP
                            Fees Sorted by Category for the Fee Period
                                October 01, 2015 - October 31, 2015

Date                            Description                                             Rate     Hours       Fees

Bankruptcy Tax Consulting
10/21/2015
   Bridenstine, Travis          Prepare computations of tax attributes including       $705.00      2.8   $1,974.00
                                sample stock basis, intercompany account
                                reconciliation and tax basis balance sheet.
   Bridenstine, Travis          Call with J. Novarro, Quiksilver, regarding            $705.00      0.7    $493.50
                                outstanding information to prepare tax
                                ramification modeling.
   Crane, Leah                  Update organization chart with NOLs - discussing       $398.00      1.8    $716.40
                                tax basis in entities.
   Ecker, Scott                 Review open item list for items needed to              $795.00      0.6    $477.00
                                complete work regarding Quiksilver tax
                                bankruptcy modeling.
   Gerstel, Ken                 Review structures chart to determine impact on         $795.00      1.3   $1,033.50
                                tax bankruptcy modeling.
10/22/2015
   Crane, Leah                  Determine tax basis in entity including evaluation     $398.00      2.3    $915.40
                                of schedule of tax deferreds to assist in completing
                                tax bankruptcy ramification modeling.
   Ecker, Scott                 Discussion with J. Novarro, Quiksilver, regarding      $795.00      0.7    $556.50
                                bankruptcy modeling work including information
                                needed to complete tax ramifications of
                                bankruptcy.
   Gerstel, Ken                 Review factual information received and needed         $795.00      0.5    $397.50
                                to complete tax ramification modeling.

10/27/2015
   Bridenstine, Travis          Meet with L. Crane regarding intercompany              $705.00      1.0    $705.00
                                account schedules and presentation.
   Crane, Leah                  Meet with T. Bridenstine regarding intercompany        $398.00      1.0    $398.00
                                account schedules and presentation.

10/29/2015
   Bridenstine, Travis          Prepare comments with respect to intercompany          $705.00      0.5    $352.50
                                presentation and tax attribute reduction to
                                complete tax ramification modeling.
   Crane, Leah                  Update organization chart including tax basis          $398.00      1.3    $517.40
                                balance sheets.
10/30/2015
   Bridenstine, Travis          Review organization chart prior to discussion with     $705.00      0.5    $352.50
                                L. Crane regarding modifications to same.
   Bridenstine, Travis          Discuss organization chart modifications with L.       $705.00      0.5    $352.50
                                Crane in connection with the tax ramification
                                modeling
   Crane, Leah                  Discuss organization chart modifications with T.       $398.00      0.5    $199.00
                                Bridenstine in connection with the tax
                                ramification modeling.



                                                                  4
                          Case 15-11880-BLS                Doc 804-2          Filed 02/17/16     Page 5 of 7


                                             Quiksilver, Inc.
                                             Deloitte Tax LLP
                                Fees Sorted by Category for the Fee Period
                                     October 01, 2015 - October 31, 2015

Date                                  Description                                           Rate       Hours        Fees

Bankruptcy Tax Consulting
10/30/2015
   Crane, Leah                        Update organization chart prior to meeting with L.   $398.00        0.3     $119.40
                                      Bridenstine.

    Subtotal for Bankruptcy Tax Consulting:                                                              53.2   $33,366.50

Federal and State - Tax Compliance Services (Fixed Fee)
10/19/2015
   Gauss, Christopher                 Review Michigan tax returns due on October 31,           $0.00      0.9        $0.00
                                      2015.
   Gauss, Christopher                 Review Texas tax return due on November 15,              $0.00      1.1        $0.00
                                      2015.

10/20/2015
   Be, Lauren                         Prepare Michigan form 4891 (Corporate Income             $0.00      2.0        $0.00
                                      Tax Annual Return).
   Be, Lauren                         Prepare 2013 Michigan Form 4897 for each                 $0.00      0.3        $0.00
                                      Unitary Business Group Members (total 13).
   Be, Lauren                         Meet with C. Gauss regarding the preparation of          $0.00      0.8        $0.00
                                      Michigan Form 4897 (Corporate Income Tax Data
                                      on Unitary Business Group Members).
   Gauss, Christopher                 Perform review of October 31, 2014 Michigan tax          $0.00      1.0        $0.00
                                      return that is due on October 31, 2015.
   Gauss, Christopher                 Meet with L. Be regarding the preparation of             $0.00      0.8        $0.00
                                      Michigan Form 4897 (Corporate Income Tax Data
                                      on Unitary Business Group Members).

10/21/2015
   Be, Lauren                         Prepare the e-file package for Michigan state            $0.00      1.5        $0.00
                                      returns.
   Be, Lauren                         Prepare 2013 Michigan form for Unitary Business          $0.00      1.3        $0.00
                                      Group Member (UBG).

10/22/2015
   Gauss, Christopher                 Clear clients Michigan tax return review points to       $0.00      0.5        $0.00
                                      complete tax compliance and income tax returns
                                      for Michigan.
10/23/2015
   Be, Lauren                         Revise Michigan form 4897 for Mt. Waimea.                $0.00      0.2        $0.00

   Be, Lauren                         Reclass intercompany eliminations to correctly           $0.00      1.2        $0.00
                                      reflect gross receipts per Unitary Business Group
                                      Member on Michigan form 4897.
   Gauss, Christopher                 Clear client's points on Michigan tax return.            $0.00      0.4        $0.00




                                                                        5
                              Case 15-11880-BLS                 Doc 804-2           Filed 02/17/16     Page 6 of 7


                                                    Quiksilver, Inc.
                                                    Deloitte Tax LLP
                                       Fees Sorted by Category for the Fee Period
                                          October 01, 2015 - October 31, 2015

Date                                       Description                                             Rate      Hours        Fees

Federal and State - Tax Compliance Services (Fixed Fee)
10/25/2015
   Gauss, Christopher                      Review Quiksilver's Texas tax return due                  $0.00      1.0       $0.00
                                           November 16, 2015.

10/27/2015
   Be, Lauren                              Clear C. Gauss, Deloitte, reviewer's comments on          $0.00      1.3       $0.00
                                           Texas tax returns.
   Gauss, Christopher                      Finalize processing of Michigan tax return.               $0.00      0.7       $0.00

10/28/2015
   Chao, Mark                              Review Michigan tax return.                               $0.00      0.2       $0.00

   Chao, Mark                              Review Texas tax return.                                  $0.00      0.2       $0.00

   Gauss, Christopher                      E-file Michigan tax return.                               $0.00      0.5       $0.00

        Subtotal for Federal and State - Tax Compliance Services (Fixed Fee):                                  15.9   $10,000.00

Firm Retention
10/02/2015
   Ecker, Scott                            Call with J. Novarro, Quiksilver, to discuss fees to   $795.00       0.4     $318.00
                                           finalize bankruptcy project to obtain approval
                                           from audit committee.

10/05/2015
   Ecker, Scott                            Gather Deloitte Tax invoices that were written off     $795.00       0.6     $477.00
                                           and amounts received prior to 90 days from the
                                           bankruptcy for filing.
10/12/2015
   Ecker, Scott                            Review tax declaration in support of Deloitte Tax      $795.00       1.2     $954.00
                                           retention application for proper facts and confirm
                                           no conflicts with the proposed teams with the
                                           bankruptcy judges.

10/26/2015
   Ecker, Scott                            Consult with R. Young, Deloitte, regarding             $795.00       0.7     $556.50
                                           questions on Deloitte Tax's bankruptcy retention
                                           submission to the court.
        Subtotal for Firm Retention:                                                                            2.9   $2,305.50

Total                                                                                                          72.0   $45,672.00




                                                                             6
                      Case 15-11880-BLS    Doc 804-2       Filed 02/17/16     Page 7 of 7


                                      Quiksilver, Inc.
                                      Deloitte Tax LLP
                         Fees Sorted by Category for the Fee Period
                             October 01, 2015 - October 31, 2015


                                          Recapitulation
Name                                                    Rate          Hours                 Fees
Ecker, Scott                                           $795.00               4.7        $3,736.50

Gerstel, Ken                                           $795.00              11.9        $9,460.50

Bridenstine, Travis                                    $705.00              22.0       $15,510.00

Crane, Leah                                            $398.00              17.5        $6,965.00

Be, Lauren                                               $0.00               8.6            $0.00

Chao, Mark                                               $0.00               0.4            $0.00

Gauss, Christopher                                       $0.00               6.9            $0.00




                                                   7
